     Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 1 of 19




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION


UNITED STATES OF AMERICA


V.                                                 CR 117-34


REALITY LEIGH WINNER


                                PLEA AGREEMENT


        Defendant Reality Leigh Winner, represented by her counsel Joe D. Whitley,

Esq., and John C. Bell, Jr., Esq., and the United States of America, represented by

Assistant United States Attorney Jennifer G. Solari, Counterintelligence and Export

Control Section Deputy Chief Juhe A. Edelstein, and Counterintelhgence and Export

Control Section Trial Attorneys David C.Aaron and Amy Larson, have reached a plea

agreement in this case. This plea agreement binds only the Defendant, the United

States Attorney's Office for the Southern District of Georgia, and the National

Security Division of the United States Department of Justice. This agreement does

not bind any other United States Attorney's Office or any other federal or state

agency. The terms and conditions of the plea agreement are as follows:

1.      Guiltv Plea


        Defendant agrees to enter a plea of guilty to Count One of the Indictment,

which charges her with unlawful retention and transmission of national defense

information, in violation of 18 U.S.C. § 793(e).
     Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 2 of 19




2.      Elements and Factual Basis


        The elements necessary to prove the offense charged in Count One are(1)that

the Defendant had possession of, access to, or control over a document containing

information relating to the national defense; (2) that the Defendant was not

authorized to possess the document;(3) that the Defendant retained the document

and faded to deHver the document to an of&cer or employee of the United States

entitled to receive it, or that the Defendant communicated, delivered, or transmitted

the document to a person not entitled to receive it; and (4) that the Defendant acted

willfully.

        Defendant agrees that she is, in fact, guilty of this offense. She agrees to the

accuracy of the following facts, which satisfy the offense's required elements:

        a.    Beginning in or about February 2017 and continuing through in or about
              June 2017, the Defendant was employed as a contractor with a private
              corporation and was assigned to a U.S. Government Agency facility in
              Georgia.    In connection with her employment, the Defendant
              maintained a TOP SECRET/ZSensitive Compartmented Information
              ("SCI") security clearance and had access to national defense and
              classified information.


       b.     From in or about December 2010 through in or about December 2016,
              the Defendant was affiliated with the United States Air Force. During
              various times during this period, the Defendant held a TOP
              SECRET//SCI security clearance.

       c.     Pursuant to Executive Order 12958 signed on April 17, 1995, as
              amended by Executive Order 13292 on March 25, 2003, and Executive
              Order 13526 on December 29, 2009, national security information
              classified as "TOP SECRET" was information owned by, produced by,
              produced for, and under the control of the United States government
              that the unauthorized disclosure of which reasonably could be expected
              to cause exceptionally grave damage to the national security.
Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 3 of 19




   d.   Information classified at any level could only be lawfully accessed by
        persons determined by an appropriate United States government official
        to be eligible for access to classified information, who received a security
        clearance, who had signed an approved non-disclosure agreement, and
        who had a "need to know" the classified information.             Classified
        information could only be stored in an approved facility and container.

   e.   Classified national security information could be further protected
        through SCI compartments in order to protect particularly sensitive
        intelHgence sources and methods. Authorized access to SCI required an
        appropriate security clearance, non-disclosure agreement, need to know,
        and additional SCI permissions. Storage of SCI was only authorized
        within an approved Sensitive Compartmented Information Facihty
        ("SCIF").

  f.    The Defendant received training regarding classified information,
        including the definitions of classified information, the levels of
        classification, and SCI as well as the proper handling, marking,
        transportation, and storage of classified materials. The Defendant
        received training on her duty to protect classified materials from
        unauthorized disclosure, which included complying with handling,
        transportation, and storage requirements. The Defendant knew that
        unauthorized removal of classified materials and transportation and
        storage of those materials in unauthorized locations risked disclosure
        and transmission of those materials, and therefore could endanger the
        national secimity of the United States and the safety of its citizens. In
        particular, the Defendant knew that unauthoidzed disclosure of TOP
        SECRET information reasonably could be expected to cause
        exceptionally grave damage to the national security of the United
        States, and that violation of rules governing the handling of classified
        information could result in criminal prosecution.

  g.    Because the Defendant held a seciority clearance and was assigned as a
        contractor to a U.S. Government Agency,the United States Government
        entrusted the Defendant with access to sensitive government materials,
        including information relating to the national defense that was closely
        held by the government and the disclosure of which would potentially be
        damaging to the United States or useful to an enemy of the United
        States ("National Defense Information") and classified documents and
        materials.


  h.    On or about May 9, 2017, the Defendant searched for, identified, and
        printed a classified intelHgence report (the "Intelligence Report") of a
        U.S. Government Agency dated on or about May 5, 2017, which
     Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 4 of 19




             contained National Defense Information. The Defendant then removed
             the Intelligence Report from its authorized location and unlawfully
             retained it.


        i.   The Defendant knew that she was not authorized to remove the
             Intelligence Report from the U.S. Government Agency or thereafter to
             retain it.


        j.   The Intelligence Report described intelligence activities by a foreign
             government directed at targets within the United States and revealed
             the sources and methods used to acquire the information the
             Intelligence Report contained. The Intelligence Report bore standard
             markings indicating that it contained highly classified information of
             the United States, including TOP SECRET,as well as SCI,information.

        k.   The information in the Intelligence Report was National Defense
             Information,in that it related to the military and national preparedness
             of the United States. Disclosure of the information in the Intelligence
             Report would be potentially damaging to the United States or useful to
             an enemy of the United States. Moreover, the information in the
             Intelligence Report was closely held by the United States Government,
             in that it had not been made public by the United States Government
             and was not found in sources lawfully available to the general public.

        1.   The Defendant knew that the Intelligence Report was classified TOP
             SECRET//SCI and that it contained National Defense Information.

        m.   On or about May 9, 2017, the Defendant unlawfully transmitted the
             Intelligence Report to an online news outlet (the "News Outlet") with
             the intent that the Intelligence Report be published.

        n.   As the Defendant knew, the News Outlet was not authorized to receive
             or possess the Intelligence Report, and the Defendant was not
             authorized to transmit the Intelligence Report to the News Outlet.

       0.    The Defendant engaged in the conduct described above knowingly and
             willfully and not by accident, mistake, or any other innocent reason.

3.     Maximum Statutory Penalties

       The maximum statutory penalties for violation of 18 U.S.C. § 798(e) are: 10

years' imprisonment, 3 years' supervised release, a $250,000 fine, and such
     Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 5 of 19




restitution as may be ordered by the Court. The Court additionally must impose a

$100 special assessment per count of conviction.

4.      Agreed Sentence Pursuant to Fed.R.Crim.P 11(c)(1)(C)

        The parties stipulate pursuant to Federal Rule of Criminal Procedure

11(c)(1)(C) that a sentence of imprisonment for 63 months followed by a three-year

term of supervised release is the appropriate disposition of this case. The parties

further agree and stipulate that the defendant shall not be ordered to pay a fine. The

parties agree that this sentence is an appropriate and reasonable sentence under the

factors enumerated in 18 U.S.C. § 3553, regardless of the applicable United States

Sentencing Guidelines calculations. The parties further agree that the Court may

impose any other applicable statutory provisions as part of the sentence, including

conditions of supervised release.

5.     Agreement Regarding Defendant's Request for Placement Within the Bureau
       of Prisons


       The Government agrees not to object at sentencing to the Defendant's request

for placement within the Bureau of Prisons. The parties understand that it is solely

within the discretion of the Bureau of Prisons to determine where the Defendant is

ultimately designated.

6.     Agreement Regarding Detention

       The Defendant agrees that she will not request release pending sentence or

appeal in this case, nor will she request voluntary surrender to the Bureau ofPrisons

following pronouncement of sentence.
     Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 6 of 19




7.      Court's Discretion and Defendant's Limited Ability to Withdraw Guiltv Plea

        The Court may accept or reject this plea agreement. If the Court accepts the

plea agreement, the Court must sentence Defendant in accordance with the

disposition provided for in this plea agreement. If the Court rejects this plea

agreement, the Court must allow Defendant the opportunity to withdraw her plea

and must advise the Defendant that if she persists in a guilty plea the disposition of

the case may be less favorable to Defendant than is contemplated by this plea

agreement.

8.      Obstruction or Failure to Accent Personal Responsibilitv

       If the Court finds that the Defendant engaged in obstructive or unlawful

behavior post-dating this agreement and/or has failed to acknowledge personal

responsibility for the offense conduct set forth herein, neither the Court nor the

Government wiU be bound at sentencing by the specific sentence contained in

paragraph four (4) and the Defendant will not be able to withdraw her plea.

9.      Waiver of Pretrial Motions


       The Defendant understands and agrees that she has certain rights to file

additional pre-trial motions in this case. As part of this plea agreement, and based

upon the concessions of the United States within this plea agreement, the Defendant

knowingly, willingly, and voluntarily gives up the right to file additional pre-trial

motions in this case and to seek any additional discovery. Further, the Defendant

knowingly, willingly, and voluntarily waives all pending motions and pending

requests for discovery.



                                          6
   Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 7 of 19




10.    Court's Use of Sentencing Guidelines


      The Court is obligated to use the United States Sentencing Guidelines to

calculate the appHcable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest.      The Court wiU consider that range, possible

departures under the Sentencing Guidehnes, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

IB1.3, not just the conduct underlying the particular Count to which Defendant is

pleading guilty. Nothing in this agreement precludes the governmentfrom providing

full and accurate information to the Court and U.S. Probation Office for use in

calculating the apphcable Sentencing Guidelines range.

11.   Agreements Regarding Sentencing Guidelines

      a.     Base Offense Level


      The parties agree that the base offense level is 29 because the offense involved

TOP SECRET documents. (U.S.S.G.§ 2M3.3(a)(l)).

      b.     Specific Offense Characteristics

      The parties agree that there is a two-level increase because the Defendant

abused a position of pubhc trust. (U.S.S.G. § 3B1.3).

      c.     Acceptance of Responsibilitv


      The parties agree that the Defendant shall receive a two-level reduction for

acceptance of responsibility. (U.S.S.G. § 3E1.1).
   Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 8 of 19




       d.    Criminal History Category

       Based on information available at this time, the parties beheve that the

defendant's criminal history category is I. This does not constitute a stipulation, but

a belief based on an assessment ofthe information currently known. The Defendant's

actual criminal history and related status will be determined by the Court based on

the information presented in the Presentence Report and by the parties at the time

of sentencing.

       e.    Adjusted Offense Level


       The adjusted offense level is 29. If the Defendant's criminal history category

is I, the Sentencing Guidelines range is 87 to 108 months ofimprisonment.

      f.     Fine Ranee


      The fine range is from $30,000.00 to $250,000.00. (U.S.S.G. § 5E1.2(c)(3)).

       g.    Supervised Release

      The Sentencing Guidelines call for a term of supervised release of at least one

but not more than three years. (U.S.S.G. § 5D 1.2(a)(2)).

      The parties agree that the stipulations in this paragraph are binding on the

parties, but do not bind the Court. The Court will make its own determination

regarding the applicable U.S.S.G. provisions and the advisory guideline range.

12.   Abandonment of Propertv


      Defendant waives and abandons her interest in any property that may have

been seized in connection with this case, including but not limited to:

      a. a Samsung SM-G900A Cell Phone, S/N: R38F4163JAV;


                                          8
   Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 9 of 19




       b. a Samsung SM-G900T CeU Phone, S/N: R33F40D711B;

       c. a Samsung SM-G900A Cell Phone, S/N: R38F60H6MSF;

       d. an AT&T Palm S Cell Phone, S/N: P8WU098A82VY;

      e. an ASUS Laptop Model 512AM-MMW;

      f. an ASUS Laptop Model X553M;

       g. an Amazon Tablet, S/N: PW98VM;

      h. books and papers seized from the Defendant's residence at 1957

           Battle Row, Augusta, Georgia, on June 3, 2017;

      i. books and papers seized from the Defendant's workspace.

13.   Financial Obligations and Agreements


      a.     Special Assessment


      Defendant agrees to pay a special assessment in the amount of $100.00,

payable to the Clerk of the United States Distxdct Court, which shall be due

immediately at the time of sentencing.

      b.     Reouired Financial Disclosures

      By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form listing all her assets and financial interests, whether held

directly or indirectly, solely or jointly, in her name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the United States Probation Office. Defendant authorizes the

United States to obtain credit reports on Defendant and to share the contents ofthose

reports with the Court and the United States Probation Office. Defendant also
  Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 10 of 19




authorizes the United States Attorney's Office to inspect and copy all financial

documents and information held by the United States Probation Office.

        c.    Financial Examination


        Defendant wiU submit to an examination under oath on the issue of her

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        d.    No Transfer of Assets


        Defendant certifies that she has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obhgations

created by this Agreement or that may be imposed upon her by the Court at

sentencing. Defendant promises that she will make no such transfers in the future.

        e.    Material Change in Circumstances


        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C.§ 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        f.    Enforcement


        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obhgations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obhgations imposed by the judgment ofthe


                                           10
  Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 11 of 19




Coui't in this case will be pla:ced on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

14.   Revocation of Supervised Release


      The Defendant understands that if she were to violate any condition of

supervised release, she could be sentenced to an additional term of imprisonment up

to the length of the original supervised release term, subject to the statutory

maximums set forth in 18 U.S.C. § 3583.

15.   Pre-Publication Review Obligations


      The Defendant understands and agrees that she shall comply with all

obligations to which she is subject for pre-publication review and shall not collaborate

on, consult about, or otherwise assist or be involved with any communication of

information relating to classified subject areas to which she was exposed while

working as an employee of or contractor for the United States Government with any

other person, without first obtaining the express written permission of all relevant

agencies or components of the United States government. This prohibition includes,

but is not limited to, any interviews of the Defendant, or anyone representing or

acting on her behalf with her consent, by the media or others. This prohibition also

includes any documents or other information created by the Defendant in the past or

future, in whole or in part, and any other papers, books, writings, electronic

communications, ai^ticles, films, or other productions relating to her or her work as

an employee of or contractor for the United States Government.



                                          11
  Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 12 of 19




16.    Assignment of Compensation


      The Defendant hereby assigns to the United States any compensation, profits,

proceeds, fee, honorarium, money, or payment of any kind (collectively

"compensation") which she may otherwise be entitled to receive in connection with

any publication or dissemination ofinformation relating to her work as an employee

of or contractor for the United States Government, and the facts and circumstances

of the investigation of her activities, or her prosecution, sentencing, or incarceration

in this matter. This assignment includes, but is not limited to, any compensation

provided to the Defendant in connection with any book, writing, electronic

communication, article, film, documentary, or other production. This assignment

includes all compensation for the benefit ofthe Defendant,regardless of whether such

compensation is payable to her or others, directly or indirectly, for her benefit, or the

benefit of her associates or a current, former, or future member of her family. The

Defendant shall not circumvent this assignment by assigning the rights to her story

to an associate or to a cm'rent, former, or future member of her family, or to another

person or entity who would provide some financial benefit to her, to her associates, or

to a ciuTent, former, or future member of her family. Moreover, she shall not

circumvent this assignment by communicating with an associate or family member

for the purpose of assisting or facilitation their profiting from a pubHc or private

dissemination, whether or not such an associate or other family member is personally

or directly involved in such dissemination.




                                           12
  Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 13 of 19




17.    Return of Discovery


       The Defendant understands and agrees that no later than 30 days following

her sentencing hearing she will, through her attorneys, return to the United States

all discovery provided by the United States in this case. The Defendant expressly

consents to the United States destroying or retaining these items as it sees fit without

notice to her.


18.    Waivers


       a.    Waiver of Appeal


      Defendant entirely waives her right to a direct appeal of her conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of her sentence if (1) the court enters a sentence above the

statutory maximum, or (2) the Government appeals the sentence. Absent those

exceptions. Defendant explicitly and irrevocably instructs her attorney not to file an

appeal.

      b.     Waiver of Collateral Attack

      Defendant entirely waives her right to collaterally attack her conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack her

conviction and sentence based on a claim of ineffective assistance of counsel.

      c.     FOIA and Privacv Act Waiver



                                           13
  Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 14 of 19




       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974,5 U.S.C. § 552a, and all subsequent amendments thereto,

       d.     Fed. R. Crim.P. 11(f) and Fed. R. Evid. 410 Waiver


       Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibihty of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead giiilty, or her plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes. This waiver of the protections provided by Rule 11(f) of the

Federal Rules of Criminal Procedure and Rule 410 of the Federal Rules of Evidence

shall not apply if the Court rejects the plea agreement.

19.    Defendant's Rights


       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at ti'ial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which she will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine




                                           14
  Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 15 of 19




adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

20.   Satisfaction with Counsel


      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant beheves that her attorney has represented her faithfully, skillfully, and

diligently, and she is completely satisfied with the legal advice given and the work

performed by her attorney.

21.   Breach of Plea Agreement


      If Defendant fails to plead guilty, withdraws or attempts to withdraw her

guilty plea, commits any new criminal conduct following the execution of this

agreement, or otherwise breaches this agreement, the government is released from

all of its agreements regarding Defendant's sentence, including any agreements

regarding the calculation of Defendant's advisory Sentencing Guidelines and the

application of Fed.R.Crim.P. 11(c)(1)(C). In addition, the government may declare

the plea agreement null and void, reinstate any counts that may have been dismissed

pursuant to the plea agreement, and/or file new charges against Defendant that

might otherwise be barred by this plea agreement. Defendant waives any statute-of-

hmitations or speedy trial defense to prosecutions reinstated or commenced under

this paragraph.




                                        15
 Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 16 of 19




22.     Entire Agreement


        This agreement contains the entire agreement between the government and

Defendant.




JOHN C. DEMERS                              BOBBY L. CHRISTINE
Assistant Attorney General                  United States Attorney
For National Security                       Southern District of Georgia




BY:     JULIE A. EDELSTEIN                  BYyjENNIFERU. SOLARI
        Deputy Chief                        Asistant United States Attorney
        DAVID C. AARON
        AMY LARSON
        Trial Attorneys
        U.S. Department of Justice
        National Security Division
        Counterintelligence & Export
         Control Section


Date:
         (pjZb(1 ^                          Date:




                                       16
  Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 17 of 19




        I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




Date                                    Reality fceigh Winner, Defendant


        I have fully explained to Defendant all of her rights, and I have carefully

reviewed each and every part ofthis agreement with her. I beHeve that she fuUy and

completely understands it, and that her decision to enter into this agreement is an

informed, intelhgent, and voluntary one.



Date:    June 19, 2018
                                                     I. WI-IITLEY, Esq.
                                               Counsel for Defendant




                                               JOHN 0. BELL, JR., Esq.
                                               Counsel for Defendant




                                          17
Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 18 of 19




        I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




Date                                    Reality Leigh Winner, Defendant


        I have fully explained to Defendant all of her rights, and I have carefully

reviewed each and every part of this agreement with her. I believe that she fully and

completely understands it, and that her decision to enter into this agreement is an

informed, intelligent, and voluntary one.




Date:
                                                 JOE D. WHITLEY,Esq.
                                                 Counsel for Defendant




                                                       C. BELL, JR., Esq
                                                 Coi/nsel for Defendant




                                            17
  Case 1:17-cr-00034-JRH-BKE Document 324 Filed 08/23/18 Page 19 of 19




                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION


UNITED STATES OF AMERICA


V.                                                  CR 117-34


REALITY LEIGH WINNER


                                       ORDER


      The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change her plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



                    ^ <7
             This          day of




                    CHIEFyffUDGE, UNITED STATES DISTRICT COURT
                                    DISTRICT OF GEORGIA
